 8:14-cr-00054-JFB-TDT               Doc # 65    Filed: 06/13/14       Page 1 of 1 - Page ID # 206



                              IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                                )
                                                         )               8:14CR54
                        Plaintiff,                       )
                                                         )
        vs.                                              )                ORDER
                                                         )
JOSHUA M. WILDENRADT,                                    )
JOHNNY GRISALES,                                         )
ROBERT D. BRYAN,                                         )
RUSSELL HARRIS and                                       )
CHRISTIE CANTON,                                         )
                                                         )
                        Defendants.                      )



        This matter is before the court on the motion to continue by defendant Robert D. Bryan (Bryan)

(Filing No. 64). Bryan seeks a continuance of the trial scheduled for July 7, 2014.        Bryan's counsel

represents that Bryan will submit an affidavit in accordance with paragraph 9 of the progression order

whereby Bryan consents to the motion and acknowledges he understands the additional time may be

excludable time for the purposes of the Speedy Trial Act . Bryan's counsel represents that government's

counsel has no objection to the motion Upon consideration, the motion will be granted as to all

defendants.

        IT IS ORDERED:

        1.      Bryan's motion to continue trial (Filing No. 64) is granted.

        2.      Trial of this matter as to all defendants is re-scheduled for August 25, 2014, before Judge

Joseph F. Bataillon and a jury. The ends of justice have been served by granting such motion and

outweigh the interests of the public and the defendants in a speedy trial. The additional time arising as

a result of the granting of the motion, i.e., the time between June 13, 2014, and August 25, 2014, shall

be deemed excludable time in any computation of time under the requirement of the Speedy Trial Act for

the reason that defendants' counsel require additional time to adequately prepare the case. The failure

to grant additional time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(7)(A) & (B).

        DATED this 13th day of June, 2014.

                                                         BY THE COURT:

                                                         s/ Thomas D. Thalken
                                                         United States Magistrate Judge
